Case

RE"::
~,

L|H|TE[

3216- -CI‘- 00021- D|\/|B- RP DOC #' 27 Filed' 03/13/17 1 Of 2 Page|D #Z 91

P:/,W,zz/ _;7~%% @.QZI;J” M“
\_:1;. :_»1_;_»1? MM% Mi MW

"T°¢TESI".. ST SCTCO'JF¥T

NO.RTH.ERU l'."_'$‘" "4 "'-..`.-l .....&551&‘:"1

fm ¢A '3.% ala oil

JWMJM;H» we 13 H.W
wMW'MwM/M/MM;Y

fahy WIo/(’e¢),

w
:;w,l>_, 7,_0'10/'7 /@p@§'/% M

~/ KM%@MJOW
/`
§§ 414

190 _@¢>(L{,;lo _
+M??»»\J A)Togz.=zo

 

 

CaSe: 3216-CI’-OOO21-D|\/|B-RP DOC #Z 27 Filed: 03/13/17 2 Of 2 Page|D #Z 92

m..-»\l
.l..

.`2:1.,:.: .` : mr:. _~M.T._£`?_:.:_:£:s;m. :E,l

i§gii § §…i@iig
§ \g §§ §§

 

.\ll.

.m

_1..
.L...
..¢\

¢H.¢
l\

ewan \§\m%n`i
Q%\P@»@:
i§di §

\W\ii QEQ §§ F_a_

